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                     IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE
     _________________________________________
                                               )
     In re:                                    )  Chapter 11
                                               )
     YELLOW CORPORATION, et al.,1              )  Case No. 23-11069 (CTG)
                                               )
                        Debtors.               )  (Jointly Administered)
     _________________________________________ )

                     DECLARATION PURSUANT TO RULE 2016-2 OF THE
                   LOCAL RULES OF BANKRUPTCY PROCEDURE FOR THE
           UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE


                 I, Michael S. Ensz, being duly sworn, deposes and says:


                      1. I am a Certified Public Accountant and a partner of KPMG LLP (“KPMG”), a

    professional services firm.

                      2. By Order dated October 23, 2023, KPMG was retained to perform audit services

    for the above captioned debtors and debtors in possession (the “Debtors”). I submit this Declaration

    in conjunction with KPMG’s application, dated December 22, 2023 (the “Application”) for KPMG’s

    second monthly fee application for compensation and allowance of expenses for the period November

    1, 2023 through November 30, 2023.

                      3. I have personally performed some of the services rendered by KPMG to the

    Debtors and am thoroughly familiar with the other work performed on behalf of the Debtors by the

    professionals of KPMG.

                      4. I have reviewed the foregoing Application and the facts set forth therein are true

    and correct to the best of my knowledge, information, and belief. Moreover, I have reviewed Rule


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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of business and the
Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
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2016-2 of the Local Rules of Bankruptcy Procedure for the United States Bankruptcy Court for the

District of Delaware and submit that the Application substantially complies with such Rule.

                  I declare under the penalty of perjury that the foregoing is true and correct.


Executed this 22nd day of December, 2023.




                                                       /s/ Michael S. Ensz
                                                       Michael S. Ensz
                                                       KPMG LLP
                                                       1000 Walnut Street
                                                       Suite 1100
                                                       Kansas City, MO
                                                       64106-2162




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